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                           UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11   BLAKE LIVELY,             )             CASE NO.: 2:25-mc-00055
12
                               )
                 Movant,       )
13
     v.                        )
14
                               )             CERTIFICATE OF SERVICE
     TERA HANKS, ASHMI         )
15   ELIZABETH DANG, AHMED     )
16
     MUSIOL, MITZ TOSKOVIC, AJ )             Action Filed: June 20, 2025
     MARBORY, JENNIFER         )
17   BENSON, SHEKINAH REESE, )
18
     and JARRIESSE BLACKMON, )
                               )
19               Respondents.  )
20

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                                  CERTIFICATE OF SERVICE
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 1                            CERTIFICATE OF SERVICE
 2         I, Katelyn Climaco, do hereby certify that I am at least 18 years of age and
 3   that on this 20th day of June 2025, I caused a copy of the following documents:
 4         1.     Notice of Motion and Motion to Compel Respondents to Comply with
 5                Third-Party Subpoenas;
 6         2.     Joint Stipulation Pursuant to Local Rules 37 and 45;
 7         3.     Declaration of Esra Hudson with Exhibits A through K; and
 8         4.     Declaration of Summer Benson with Exhibits 1 and 2.
 9   to be served upon the following counsel for the parties via email:
10                 LINER FREEDMAN TAITELMAN + COOLEY, LLP
11
                                  Bryan J. Freedman
                                  Ellyn S. Garofalo
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21                             Attorneys for Respondents
      Tera Hanks, Ashmi Elizabeth Dang, Ahmed Musiol, Mitz Toskovic, AJ Marbory,
22             Jennifer Benson, Shekinah Reese, and Jarriesse Blackmon
23

24         I declare that I am employed in the office of a member of the bar of this Court
25   at whose direction the service was made.
26
     Date: June 20, 2025                            /s/ Katelyn A. Climaco
27                                                  Katelyn A. Climaco
28

                                                2
                                    CERTIFICATE OF SERVICE
